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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

RACHELLE BEAUBRUN, KAYLA
BUCHANAN, AMANDA DIMURO,
KRISTEN GODUTO, KARA
GUGGINO, SARA HOEHN, APRIL
JOHNSON, MAGGIE LEON,
REBECCA MORA, TERRY NAGY-
PHILIPS, LAUREN REYNOLDS, ANN
URSINY, CRISTIAN VILLALTA-
GARCIA and KAREN WATSON,

               Plaintiffs,

v.                                                            Case No: 5:19-cv-615-Oc-32PRL

UNITED STATES OF AMERICA,

               Defendant.


                                            ORDER

       Plaintiffs, through counsel, Bryan E. Busch, Esquire and Christopher Y. Mills, Esquire, initiated

this case by filing a Complaint. (Doc. 1). Mr. Busch represented in the Complaint that he was appearing

in this case pro hac vice, but he has failed to comply with this Court’s Local Rules. See Local Rule 2.02.

Accordingly, if Mr. Busch intends on representing Plaintiffs, with the exception of Plaintiff Lauren

Reynolds (see Doc. 7), he must comply with Local Rule 2.02 within 14 days of the date of this Order.

       IT IS SO ORDERED.

       DONE AND ORDERED at Ocala, Florida, this 8th day of January, 2020.




c:
Counsel of Record
Bryan E. Busch, Esquire
